

Matter of Tessler (2024 NY Slip Op 00232)





Matter of Tessler


2024 NY Slip Op 00232


Decided on January 18, 2024


Appellate Division, First Department


PER CURIAM 



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2024
SUPREME COURT, APPELLATE DIVISION
First Judicial Department

Troy K. Webber,J.P.,
Ellen Gesmer
Lizbeth González
Manuel J. Mendez
Julio Rodriguez III, JJ.


Motion No. 2023-04832 Case No. 2023-00890 

[*1]In the Matter of David Alan Tessler, A Suspended Attorney: Attorney Grievance Committee for the First Judicial Department, Petitioner, David Alan Tessler, (OCA Atty. Reg. No. 2570463) Respondent.



Disciplinary proceedings instituted by the Attorney Grievance Committee for the First Judicial Department. Respondent was admitted to the Bar of the State of New York at a Term of the Appellate Division of the Supreme Court for the First Judicial Department on September 20, 1993.




Jorge Dopico, Chief Attorney,
Attorney Grievance Committee, New York
(Louis J. Bara, of counsel), for petitioner.
Respondent, pro se.



PER CURIAM 


Respondent, David Alan Tessler, was admitted to the practice of law in the State of New York by the First Judicial Department on September 20, 1993. Respondent's last registered business address is in New Jersey. As the admitting Judicial Department, this Court retains continuing jurisdiction over respondent (Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.7[a][2]).
By order entered April 11, 2023, pursuant to 22 NYCRR 1240.9(a)(1) and (3) and Judiciary Law § 468-a, this Court suspended respondent from the practice of law, until further order of this Court, based on his failure to answer two complaints, failure to appear before the Attorney Grievance Committee (Committee) for an examination under oath (i.e., a deposition) as directed by judicial subpoena, and failure to register with the Office of Court Administration (OCA) for the 2021-22 biennial period (Matter of Tessler, 215 AD3d 61 [1st Dept 2023]).
The Committee now seeks an order disbarring respondent pursuant to 22 NYCRR 1240.9(b), on the ground that respondent was immediately suspended pursuant to, inter alia, 22 NYCRR 1240.9(a)(1) and (3) and has neither responded to nor appeared for further investigatory or disciplinary proceedings within six months of the date of his suspension. The Committee states that on October 25, 2023, pursuant to CPLR 308(2), respondent was personally served with the current motion to disbar at the address he last registered with OCA. To date, respondent has not submitted a response.
Accordingly, inasmuch as six months have elapsed since this Court's April 11, 2023 suspension order, and respondent has neither responded to nor appeared for further investigatory or disciplinary proceedings, the Committee's motion for an order disbarring respondent pursuant to 22 NYCRR 1240.9(b) should be granted and respondent's name stricken from the roll of attorneys in the State of New York, effective immediately (see Matter of Meettook, 213 AD3d 151 [1st Dept 2023]; Matter of Greenblum, 207 AD3d 101 [1st Dept 2022]; Matter of Meltzer, 201 AD3d 28 [1st Dept 2021]).
All concur.
It is Ordered that the motion by the Attorney Grievance Committee for the First
Judicial Department for an order pursuant to 22 NYCRR 1240.9(b) disbarring respondent, David Alan Tessler, is granted, and respondent is disbarred, effective the date hereof, and his name is stricken from the roll of attorneys and counselors-at-law in the State of New York; and
It is further Ordered [*2]that, pursuant to Judiciary Law § 90, respondent, David Alan Tessler, is commanded to desist and refrain from (1) practicing law in any form, either as principal or agent, clerk or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and
It is further Ordered that respondent, David Alan Tessler, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see 22 NYCRR 1240.15), which are made part hereof; and
It is further Ordered that if respondent, David Alan Tessler, has been issued a secure pass by the Office of Court Administration, he shall return it forthwith to the issuing agency.
Entered: January 18, 2024








